Form ncloseur


                           IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE MIDDLE DISTRICT OF TENNESSEE
                                       Case No. 3:12−bk−07216
                                                      Chapter 7


          In re:

                TROY DANTE HARDIN
                216 Nicks Drive
                Madison, TN 37115
                Social Security No.:
                xxx−xx−9163



                      NOTICE OF POTENTIAL CLOSURE OF CASE WITHOUT
                       DISCHARGE FOR FAILURE TO PAY THE FILING FEE


          To the Debtor(s):

          You are receiving this notice as a reminder to pay the filing fee within 30 days after your first
          eligibility for discharge. Your case will be closed without you receiving a discharge if you fail to
          pay the filing fee within 30 days of the date of this notice. To prevent paying a fee to reopen your
          case in order for a discharge order to be issued, pay the filing fee.




          Dated: 12/6/12                                          MATTHEW T LOUGHNEY
                                                                  Clerk, U.S. Bankruptcy Court




    Case 3:12-bk-07216             Doc 23 Filed 12/06/12 Entered 12/06/12 14:22:22                  Desc Close
                                     Case Without Discharge Page 1 of 1
